Case 1:23-cv-01198-CJN Document 29-7 Filed 10/09/23 Page 1 of 5




          EXHIBIT 7
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         Case 1:23-cv-01198-CJN Document 29-7 Filed 10/09/23 Page 2 of 5




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